 Case: 4:25-cv-00081-RWS       Doc. #: 9   Filed: 01/21/25   Page: 1 of 3 PageID #: 532



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

J.Y.C.C., et al.,                      )
                                       )
              Plaintiffs,              )
                                       )
v.                                     )      Case No. 4:15 CV 1704 RWS
                                       )
DOE RUN RESOURCES, CORP.,              )
et al.,                                )
                                       )
              Defendants.              )

                                      ORDER

        This case involves the claims of dozens of unrelated individual plaintiffs

 who allege they have been injured from Defendants' lead mining, smelting, and

 fabrication operations in La Oroya, Peru. In addition to this case, several other

 cases, each containing dozens of unrelated individual plaintiffs, have been

 consolidated with this case for pretrial proceedings. The order consolidating the

 cases directs that all filings be made only in the present case, 4:15 CV 1704 RWS

 (the Lead Case).

        All of these cases involve the same Defendants, Plaintiffs' counsel, and

 general allegations as the Lead Case. The individual Plaintiffs were allegedly
Case: 4:25-cv-00081-RWS      Doc. #: 9    Filed: 01/21/25   Page: 2 of 3 PageID #: 533




 exposed to lead at different times and have injuries which vary with each

 Plaintiff. These multi-plaintiff cases do not assert sufficiently related claims to

 be properly

 joined under Federal Rules of Civil Procedure 20(a). As a result, I have ordered

that the cases be severed into individual actions, one for each Plaintiff, (or for

two related Plaintiffs), and randomly reassigned by the Clerk of Court before

being reconsolidated with this Lead Case. See Fed. R. Civ, P, 21.

      On December 6, 2024 and December 18, 2024, Defendants removed two

more related cases: Mendoza v. Doe Run Resources Corp., et al., 4:24 CV 1653

RWS and Schuler v. Doe Run Resources Corp., et al., 4:24 CV 1698 RWS.

Plaintiffs have filed an unopposed motion to consolidate these new cases with

the present case for pretrial proceedings. I will grant the motion.


      Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs’ motion to consolidate

Meondoza v. Doe Run Resources Corp., et al., 4:24 CV 1653 RWS and Schuler

v. Doe Run Resources Corp., et al., 4:24 CV 1698 RWS with this Lead Case for

pretrial proceedings [921] is GRANTED.

       IT IS FURTHER ORDERED that Plaintiffs’ claims in the new

Schuler case shall be severed. The Clerk of Court shall open and randomly
Case: 4:25-cv-00081-RWS                    Doc. #: 9         Filed: 01/21/25         Page: 3 of 3 PageID #: 534




    assign a new case for each Plaintiff using the complaint filed in Schuler v.

    Doe Run Resources Corp., et al., 4:24 CV 1698 RWS.1 After these cases are

    severed, each of the severed cases shall be consolidated with this Lead Case

    before me for all pretrial proceedings. Once the cases are ready for trial, they

    will be returned to the docket of the District Judge or Magistrate Judge in this

    district to whom they were assigned before consolidation.

             IT IS FURTHER ORDERED that all future filings shall be made only

    in this Lead Case and should only reference the case number of this Lead Case in

    the caption of the filing.

             IT IS FURTHER ORDERED that the Clerk of Court shall file a copy

    of this order in the new severed cases.



                                                          _________________________________
                                                          RODNEY W. SIPPEL
                                                          UNITED STATES DISTRICT JUDGE

Dated this 16th day of January, 2025.




1
    The Mendoza case only has one plaintiff and, as a result, there is no need to sever separate Plaintiffs’ claims.
                                                            3
